Case 1:17-cv-00481-KJM Document 120 Filed 03/28/19 Page 1 of 1                                     PageID #: 1627
 AO 450 (Rev. 5/85) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                               DISTRICT OF HAWAII


  JONATHAN DEWILDE WILLIAMS                                JUDGMENT IN A CIVIL CASE

                 Plaintiff(s),                             Case: CV 17-00481 KJM
                                                                        FILED IN THE
                    V.                                         UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                          March 28, 2019
  COVINGTON ENGINEERING
                                                                    At 4 o’clock and 00 min p.m.
  CORP.; RIO GRANDE; DAYTON                                            SUE BEITIA, CLERK
  ELECTRICAL MFG. CO.; TEXTILE
  BUFF & WHEEL COMPANY, INC.;
  JOHN DOES 1-5; JOHN DOE
  CORPORATIONS 1-5; JOHN DOE
  PARTNERSHIPS 1-5; ROE
  NON-PROFIT ORGANIZATIONS
  1-5; and ROE GOVERNMENTAL
  AGENCIES 1-5,
           Defendant(s).

 [ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
           have been tried and the jury has rendered its verdict.

 [T] Decision by Court. This action came for hearing before the Court. The issues
           have been heard and a decision has been rendered.

           On March 11, 2019, the Court issued its Order, ECF 112: “ORDER GRANTING
           DEFENDANT COVINGTON ENGINEERING CORP.’S MOTION FOR
           SUMMARY JUDGMENT AS TO ALL CLAIMS” (“March 11, 2019 Order”),

           IT IS ORDERED AND ADJUDGED that JUDGMENT is entered in favor of
           Defendant COVINGTON ENGINEERING CORP. and entered as pursuant to and
           in accordance with the March 11, 2019 Order.

                   March 28, 2019                                           SUE BEITIA
  Date                                                     Clerk

                                                             /s/ Sue Beitia by J.O., Deputy Clerk
                                                           (By) Deputy Clerk
